EXHIBIT 3


 Redacted
                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA



BRITAX CHILD SAFETY, INC.,           )
                                     )
                Plaintiff,           )
                                     )      Civil Action No. 5:17-cv-02724-JFL
v.                                   )
                                     )
NUNA INTERNATIONAL B.V. and          )
NUNA BABY ESSENTIALS, INC.,          )
                                     )
                Defendants.          )



                    EXPERT WITNESS REPORT OF
         MR. ANDREW BOWMAN REGARDING NONINFRINGEMENT




                    Confidential – Subject to Protective Order
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Def. Exhibit No.                                     Description
       12          U.S. Patent No. 9,499,074 to Strong et al. (“’074 patent”)
       13          U.S. Patent No. 9,586,504 to Strong et al. (“’504 patent”)
       53          BRITAX0002391-92
      100          Prosecution History of U.S. Patent Application No. 14/063,807 (“’074
                   Prosecution History”)
      101          Prosecution History of U.S. Patent Application No. 15/294,242 (“’504
                   Prosecution History”)
      103          Plaintiff’s Supplemental Disclosure of Infringement Contentions (Oct. 18,
                   2019) (“Britax’s Supplemental Infringement Contentions”)
      104          Deposition Transcript of Curtis Strong (Mar. 4, 2020) (“Strong Tr.”)
      108          Curriculum Vitae of Andrew Bowman
      110          Merriam-Webster’s Collegiate Dictionary, 11th Edition (2003) (“Merriam-
                   Webster”)
      111          Pictures of Accused Products
      112          Nuna RAVA User Manual
      113          BRITAX0011145-82 - Nuna EXEC User Manual
      114          Supplemental Definitions from Merriam-Webster’s Collegiate Dictionary,
                   11th Edition (2003) (“Merriam-Webster”)
      115          U.S. Patent No. 5,630,645 to Lumley et al. (“’645 patent”)
      116          U.S. Patent No. 7,168,762 to Maciejczyk (“’762 patent”)
      117          U.S. Patent No. 9,174,554 to Maciejczyk (“’554 patent”)
      118          U.S. Patent No. 9,937,823 to Williams et al. (“’823 patent”)
      119          U.S. Patent No. 9,120,403 to Hutchinson (“’403 patent”)
      120          U.S. Patent No. 8,973,992 to Guo (“’992 patent”)
      121          U.S. Patent No. 6,779,842 to McNeff (“’842 patent”)
      122          U.S. Patent No. 5,611,596 to Barley et al. (“’596 patent”)
      123          “Summer Infant Prodigy Base Installation,” CarseatBlog (Sept. 25, 2011),
                   available at https://www.youtube.com/watch?v=V_bY3MnRFpk
      124          “Another New Product: Summer Infant Prodigy,” SafeDad, CarseatBlog
                   (Oct. 11, 2010), available at https://carseatblog.com/7552/another-new-
                   product-summer-infant-prodigy/
      125          “Summer Infant Prodigy - Mini Review,” JerseyGirl’sMama, Car Seat.Org
                   (Oct. 19, 2011), available at https://www.car-seat.org/threads/summer-
                   infant-prodigy-mini-review.148385/
      126          Summer Infant Prodigy User Guide



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127   “A Growing Family’s Guide to Car Seats,” CSFTL (last updated May 1,
      2019), available at https://csftl.org/a-growing-familys-guide-to-car-seats/
128   “The Safest Car Seat for Your Child,” Michelle Naranjo, Consumer Reports
      (Nov. 21, 2016), available at https://www.consumerreports.org/car-
      seats/safest-car-seat-for-your-child/
129   “Car Seat Recommendations for Children,” NHTSA, available at
      https://www.nhtsa.gov/sites/nhtsa.dot.gov/files/documents/carseat-
      recommendations-for-children-by-age-size.pdf
130   “5 Safety Features to Look for in Baby Car Seats,” Eli Daccach, Kacz’ Kids
      Dec. 21, 2017), available at https://www.kaczkids.com/blogs/news/5-safety-
      features-to-look-for-in-baby-car-seats
131   “Safe & Secure: Convertible Car Seats Safe and Secure,” Britax Child
      Safety, Inc., available at https://us.britax.com/product-
      knowledge/articles/safecell-impact-protection-convertibles/
132   Britax’s Supplemental Responses to Nuna’s Interrogatories including
      Appendices A-F, dated November 11, 2019
133   Britax’s Second Supplemental Responses to Nuna’s Interrogatories
      including Appendices G-H, dated February 24, 2020
134   Appendix G to Britax’s Second Supplemental Responses to Nuna’s
      Interrogatories
135   Appendix H to Britax’s Second Supplemental Responses to Nuna’s
      Interrogatories
136   “How to Install a Britax ClickTight Convertible Car Seat Forward Facing,”
      Britax Child Safety, Inc. (Jan. 19, 2018), available at
      https://youtu.be/GPNg9MD1alk
137   “Britax One4Life Car Seat Installation: Forward-Facing Harness Mode
      using ClickTight,” Britax Child Safety, Inc. (Mar. 9, 2020), available at
      https://youtu.be/NUN XWXayGY
194   U.S. Patent No. 8,434,821 to Gibree (“’821 patent”)
195   U.S. Patent No. 9,789,791 to Hutchinson et al. (“’791 patent”)
196   BRITAX0020160 [REDACTED]




                                iii
                                           Id. at ¶ 131.

X.     Noninfringing Alternatives

       247.    For the foregoing reasons, it is my opinion that the Accused Products do not

infringe the Asserted Patents based on their use of the True Tension doors. It is also my opinion,

however, that various, separate alternative designs available at the time of the development of the

Accused Products could have been used in place of the True Tension doors and would have been

seen by consumers as an adequate substitute in the market for the ClickTight tensioning

mechanisms.

       248.    The True Tension doors of the Accused Products and the ClickTight mechanism

of the Britax ClickTight products secure and displace the vehicle belt to provide tension thereon.

Several other car seat features were available in 2015-2016, during the time the RAVA car seat

was undergoing design, that also secured, displaced, and tensioned vehicle belts for the purpose

of securing a car seat and could have been implemented within the RAVA and EXEC car seats.

       249.    For example, belt displacement levers of the sort taught by U.S. Patent No.

5,611,596 (expired on February 6, 2016) teaches various embodiments for using levers to

displace a belt, thereby tensioning and securing it, as shown in the below Figs. 1 and 3 from the


                                               132
                                           Id. at Fig. 7.

       252.    While it is my opinion that the True Tension doors do not infringe the Asserted

Patents, it is my opinion that the True Tension doors could easily have been replaced with other

noninfringing alternatives. For example, other than the designs discussed above, simply

modifying the placement and configuration of the True Tension doors on the seat could create an

additional noninfringing alternative.

       253.    All claims of the Asserted Patents require the tensioning mechanism or pivot

structure to have “an end attached to the backrest portion at an axis,” or similar language. The

current design of the True Tension doors provides for both doors opening toward the intersection

of the backrest portion and seat portion, as shown in the below figure, where numeral 23 is the

forward-facing True Tension door and 21 is the rear-facing True Tension door. RAVA User

Manual at 16-17. The hinges of the forward-facing True Tension door—the only True Tension


                                               135
around the spindle 54. The configuration is shown in the below Fig. 17. See ’821 Patent at 5:60-

7:20.




                                            Id. at Fig. 17.

        256.   Handle 52 is a ratchet such that when rotated in one direction it turns the spindle

or spool to tighten the belt, but when rotated in the opposite direction, the spindle or spool is

prevented from rotating so that the belt does not unwind. Id. at 5:60-66. In this manner, a user

can apply an appropriate amount of additional tension to the vehicle belt by rotating the handle

until the seat is properly secured as prevented from moving more than one inch in any direction.

See ’821 Patent at 5:60-7:20. 1




1
 The ’821 patent also teaches and claims a “belt tension indicator,” separate from the ratchet
mechanism. See, e.g., ’821 Patent, 6:21-58. In my opinion, the “belt tension indicator” is not
necessary to properly install a seat using the ratchet mechanism.
                                                 137
       257.    One seat in which this type of tensioning mechanism was used was the Summer

Infant Prodigy. The Summer Infant Prodigy, for example, was available on the market at least as

of 2011, based on the copyright date of the user manual, as well as several online instructional

videos and reviews from this timeframe. 2

       258.    The Summer Infant Prodigy implemented a “Belt Tightening System” that

comprised a compartment through which the vehicle belt was threaded. Once the vehicle belt

was threaded through the compartment, a user would remove excess slack in the belt by pulling

it snug. The lap belt of the vehicle belt would then be threaded through the clip on the spool, and

the installation handle that operated as a ratchet would be rotated until appropriate tension was

applied to the belt. This general process is shown in steps 1 through 10 appearing on pages 35-

40 of the user’s manual reproduced below.




2
 See, e.g., “Summer Infant Prodigy Base Installation,” CarseatBlog (Sept. 25, 2011), available at
https://www.youtube.com/watch?v=V_bY3MnRFpk; “Another New Product: Summer Infant
Prodigy,” SafeDad, CarseatBlog (Oct. 11, 2010), available at
https://carseatblog.com/7552/another-new-product-summer-infant-prodigy/; “Summer Infant
Prodigy - Mini Review,” JerseyGirl’sMama, Car Seat.Org (Oct. 19, 2011), available at
https://www.car-seat.org/threads/summer-infant-prodigy-mini-review.148385/.
                                                138
139
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                          Summer Infant Prodigy User Guide at 35-40.

       259.     It is my opinion that the spool and ratchet tensioning mechanism, similar to that

implemented in the Summer Infant Prodigy seat could have been used in the Accused Products

in place of the True Tension doors to facilitate installation of the seats and to secure and tension


                                                142
the vehicle belt easily during installation. It is further my opinion that this would have been an

acceptable alternative to both the Britax ClickTight seats as well as the RAVA and EXEC car

seats for consumers looking for car seats with means for securing and tensioning a vehicle belt.

       260.    Moreover, it is my opinion that the spool and ratchet mechanism could be

implemented within convertible car seats, such as the RAVA and EXEC, in place of the True

Tension doors. It is further my opinion that such an alternative could be implemented without

requiring excessive cost.

       261.    First, the spool and ratchet mechanism could be implemented within convertible

car seats such as the RAVA and EXEC car seats, similar to the style of that implemented in the

Summer Infant Prodigy. While the Summer Infant Prodigy user manual shows a single spool

and ratchet level within a seat base for an infant carrier, it is my opinion that two such

mechanisms could be implemented within a convertible seat, one positioned at each belt path,

forward and rear facing. 3 The RAVA and EXEC car seats are already configured with thread-

through belt paths with accessible compartments for securing the belt in each of the forward-

facing and rear-facing configurations, as shown in the images below.




3
  The Summer Infant Prodigy also includes an electronic check system branded the “Smart
Screen,” which presents a user with a smiley face when properly installed and tensioned. It is
my opinion that this is an unnecessary addition that is not required for the spool and ratchet
tensioning mechanism to be used properly. Even without such an electronic check system, users
would be able to properly and securely install the seat. Therefore, when implementing a spool
and ratchet tensioning mechanism in the RAVA and EXEC car seats, it is my opinion that the
additional “Smart Screen” is unnecessary and would not be used.
                                                 143
                                  RAVA User Manual at 45, 53.

       262.    The Accused Products are already designed in such a manner as to facilitate the

implementation of the spool and ratchet tensioning mechanism for each belt path because of the

use of doors within the seat and backrest portions of the seat that are capable of concealing the

spool and ratchet mechanisms for each belt path. The compartments and belt paths are shown

for each configuration in the images above. In these images, however, the belt sits on top of the

compartments, and the doors for the compartments are used to displace and tension the belt.

Alternatively, when implemented with a spool and ratchet mechanism, the size and depth of the

compartments would be adjusted such that it would fit the spool and ratchet within the

compartment in line with the belt path, without additional wasted empty space, as shown in the

below figures (spools shown in orange and ratchet handles shown in green).




                                                144
user installing the RAVA and EXEC car seats), the user would then close a covering panel over

the top of compartment concealing the now tensioned belt and the spool and ratchet tensioning

mechanism therein. The covering panels would not displace the belt and would not cause any

tension thereon, thus removing the design from the scope of the Asserted Patents.

       267.     Alternatively, the covering panels could be eliminated from the design completely

to further simplify and promote ease of access to the belt paths and spool and ratchet mechanism.

Rather than having a hard plastic cover over each compartment, one of ordinary skill in the art

would have recognized that a stiffener panel could be inserted within the soft goods to cover the

compartments.

       268.     Because of the similarities in the installation, it is my opinion that a spool and

ratchet tensioning mechanism would allow for a simple and secure installation comparable to

either the Britax ClickTight products or the Nuna True Tension doors. Many users would

already be familiar with using a ratchet system, since it is commonly used in many other

applications. Users are already instructed to thread the seat belt through the appropriate belt

path. Requiring a user to additionally clip the lap belt onto the spool and rotate the ratchet

handle does not add an undue level of complexity to the process. Moreover, requiring simple

acts such as clipping the lap belt onto the spool and rotating the ratchet handle are not difficult or

error prone tasks that would compromise the safety and security of the installation.

       269.     Moreover, because the True Tension doors each already conceal a compartment

configured to receive the belt, no excessive redesign of the dimensions of the Accused Products

would be required to accommodate the spool and ratchet mechanisms. The belt paths, as

mentioned previously, would simply have to be lowered such that instead of aligning with the




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